                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

In re:                                                     Case No. 17-50424

ALISON J. ROSS,                                            Chapter 7

                  Debtor.                                  Judge Thomas J. Tucker
_________________________________/

 ORDER DISAPPROVING THE REAFFIRMATION AGREEMENT FILED OCTOBER
    23, 2017, BETWEEN THE DEBTOR AND ACAR LEASING LTD D/B/A GM
                   FINANCIAL LEASING (DOCKET # 20)

        This case is before the Court on the Reaffirmation Agreement between the Debtor and
ACAR Leasing LTD d/b/a GM Financial Leasing (“ACAR”), filed on October 23, 2017 (Docket
# 20, the “Reaffirmation Agreement”). For the reasons stated in this Order, the Court concludes
that the Reaffirmation Agreement is not enforceable, and therefore must be disapproved.

       Under 11 U.S.C. § 524(c)(1), a reaffirmation agreement is not enforceable unless it “was
made before the granting of the discharge under section 727.” See also In re Herrera, 380 B.R.
446, 449-55 (Bankr. W.D. Texas 2007) and cases cited therein. As indicated in Part B of the
Reaffirmation Agreement, ACAR did not sign the Reaffirmation Agreement until October 23,
2017, six days after the Debtor’s discharge order was entered on October 17, 2014 (Docket # 15).
Therefore, the Reaffirmation Agreement is not enforceable.

         For these reasons,

       IT IS ORDERED that the Reaffirmation Agreement (Docket # 20), is disapproved, as
unenforceable under 11 U.S.C. § 524(c)(1).


Signed on October 27, 2017




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